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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JAMES PHILLIPS, and ROBERT                     §
SAEMIAN,                                       §
                                               §
                        Plaintiffs             §
                                               §      CIVIL ACTION NO. 4:18-CV-00821
       v.                                      §
                                               §
WIPRO LIMITED,                                 §
                                               §
                        Defendant.             §

                                            ORDER

       On this day, the Court considered Defendant Wipro Limited’s Motion to Strike the Report

and Testimony of Plaintiffs’ Expert Dr. Neumark (ECF No. 173, Ex. 30). Having considered

Defendant’s Motion, any responses and replies, legal authorities, and the record, the Court finds

that Defendant’s Motion has merit.

       It is therefore ORDERED that Defendant’s Motion to Strike the Report and Testimony of

Plaintiffs’ Expert Dr. Neumark (ECF No. 173, Ex. 30) is GRANTED.

       It is further ORDERED that the Report and Testimony of Plaintiffs’ Expert Dr. Neumark

(ECF No. 173, Ex. 30) is STRICKEN with prejudice to refiling. The Clerk of Court is instructed

to strike the Report and Testimony of Plaintiffs’ Expert Dr. Neumark (ECF No. 173, Ex. 30) from

the Court’s docket.



       SIGNED this _____ day of _________________, 2021.



                                            THE HONORABLE ALFRED H. BENNETT
                                            UNITED STATES DISTRICT JUDGE



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